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P 961-080889-01
                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

NICOLE ARCENEAUX and       * CIVIL ACTION NO.:
JERRAL ROME                *
                           * JUDGE:
versus                     *
                           * SECTION:
TOBY A. THORTON, BLACKHAWK *
SPECIALTY TOOLS, LLC, and  * MAGISTRATE:
LIBERTY MUTUAL INSURANCE   *
COMPANY                    * DIVISION:
***************************************************

                                 PETITION FOR REMOVAL

To:    Judges of the United States District Court
       For the Eastern District of Louisiana
       500 Poydras Street
       New Orleans, LA

       Defendants, Toby A. Thornton, Blackhawk Specialty Tool, Inc. and Liberty Mutual Fire

Insurance Company, herein give notice of removal of the Civil Action entitled Nicole Arceneaux

and Jerral Rome versus Toby A. Thorton, Blackhawk Specialty Tools, LLC, and Liberty Mutual

Insurance Company on the docket of the 32nd Judicial District Court for Terrebonne Parish, State

of Louisiana, with docket number 184,080, Section “D”, to the United States District Court,

Eastern District of Louisiana.

                                               1.

       On October 1, 2018, and action was commended in the 32nd Judicial District Court for

Terrebonne Parish, State of Louisiana, entitled “Nicole Arceneaux and Jerral Rome versus Toby

A. Thorton, Blackhawk Specialty Tools, LLC, and Liberty Mutual Insurance Company” with

docket number 184,080, Section “D”, of that court. Defendant Liberty Mutual Insurance
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Company was served with the Citation and Petition through the Louisiana Secretary of State on

October 22, 2018.

                                                  2.

        The above described action is a civil suit of which this court has original jurisdiction by

the provisions of 28 U.S.C., Section 1332, and is one which has become removable by

petitioners, defendants in that proceeding, pursuant to the provisions of 28 U.S.C., Section 1441

and Section 1446, in that it is a civil action wherein the matter in controversy is reasonably

believed to exceed the sum of $75,000.00, exclusive of interest and costs, and is between citizens

of different states.

                                                  3.

        The Plaintiffs at the present time and at the time they initially filed suit, are residents and

citizens of and domiciled in the State of Louisiana.

                                                  4.

        Named Defendant, Blackhawk Specialty Tools, LLC., is at the present time and was at

the time the Plaintiffs filed suit, a Texas corporation with its principal place of business in

Houston, Texas.

                                                  5.

        Named Defendant, Liberty Mutual Fire Insurance Corporation, is at the present time and

was at the time of the Plaintiffs filed suit, Wisconsin corporation with its principal place of

business in Boston, Massachusetts.




                                                  6.
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       Named Defendant, Toby A. Thorton, is a resident and domiciliary of the state of Texas..

                                                7.

       This lawsuit involves a dispute among citizens of different states. There is complete

diversity of citizenship between the parties.

                                                8.

       The matter in controversy is reasonably believed to exceed the sum of $75,000.00

exclusive of interest and costs.

                                                9.

       Filed herewith is a copy of the pleadings in the aforementioned action as required by 28

U.S. C. §1446(a).

                                                10.

       Written notice of the filing of this Petition and Notice of Removal is being delivered to

Plaintiffs. Undersigned counsel represents Defendants, Toby A. Thornton, Blackhawk Specialty

Tools, LLC and Liberty Mutual Fire Insurance Company.



       WHEREFORE, Defendants, Toby A. Thornton, Blackhawk Specialty Tools, LLC and

Liberty Mutual Fire Insurance Company, pray that this litigation proceed in this Honorable Court

as an action properly removed from the 32nd Judicial District Court for Terrebonne Parish, State

of Louisiana.
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                                                  Respectfully Submitted,


                                                  LAW OFFICES OF ROBERT E. BIRTEL

                                       BY: s:/ KEVIN T. PHAYER
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of November, 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing upon counsel for all parties.

                                                  LAW OFFICES OF ROBERT E. BIRTEL


                                          BY: s:/ KEVIN T. PHAYER
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